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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

 SOPHIA VAZQUEZ,                                   *

                      Plaintiff,                   *
 v.                                                    Case No. 5:20-CV-198-MTT
                                                   *
 WAL-MART, INC.,
                                                   *
                   Defendant.
 ___________________________________               *


                                        JUDGMENT

       Pursuant to this Court’s Order dated August 20, 2020, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case. Plaintiff shall recover nothing of Defendant.

       This 20th day of August, 2020.

                                            David W. Bunt, Clerk


                                            s/ Gail G. Sellers, Deputy Clerk
